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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             Case No. 8:04CR511
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )                      ORDER
                                               )
DEJUAN J. LEONARD,                             )
                                               )
                       Defendant.              )


       IT IS ORDERED that, following a telephone conference with the attorneys, the parties' joint
request for a continuance in trial is granted. Jury trial for the defendant, Dejuan Leonard, is
rescheduled before the undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska U.S.
Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on August 15, 2005, at 8:30 a.m. Since
this is a criminal case, the defendant shall be present, unless excused by the court. If an interpreter
is required, one must be requested by the plaintiff in writing five (5) days in advance of the
scheduled hearing.
       The ends of justice will be served by granting the parties' request for a continuance, and
outweigh the interests of the public and the defendant in a speedy trial. The additional time arising
from the date of trial to the newly scheduled trial date, namely, July 5, 2005, through August 15,
2005, shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act, for the reason that defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel and the novelty and complexity
of this case, and the failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 5th day of July, 2005.
                                               BY THE COURT:




                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
